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 8                                      UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

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11         RALPH COLEMAN, et al.,                        No. 2:90-cv-0520 KJM DB P
12                         Plaintiff,
13               v.                                      ORDER
14         EDMUND G. BROWN, JR., et al.,
15                         Defendants.
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18                    On May 7, 2019, the court received the neutral expert’s monthly invoice for
19     services rendered through April 30, 2019. In accordance with the district court’s January 8, 2019
20     order, ECF No. 6064 at 5, the court reviewed the invoice. On May 17, 2019, the neutral expert’s
21     proposed summary invoice was distributed to the parties. See ECF No. 6064 at 5. A copy of that
22     summary invoice is filed concurrently with this order, along with the detailed billing summary
23     provided for the court’s review, under seal.1 Attachment A, Invoice dated May 7, 2019 (filed
24     under seal). On May 24, 2019, defendants submitted objections to the proposed final invoice.
25     See Attachment B, May 24, 2019 Letter from Supervising Deputy Attorney General Adriano
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        The detailed billing statements of the neutral expert will be maintained under seal pending
28     completion of his work to protect the integrity of 1his investigation. See ECF No. 6083 at 2.
     Case 2:90-cv-00520-KJM-SCR            Document 6178         Filed 06/10/19       Page 2 of 2


 1     Hrvatin to Honorable Deborah Barnes. The neutral expert has not responded to defendants’

 2     objections. Cf. ECF No. 6064 at 5-6.

 3                      The court has reviewed defendants’ objections. Defendants renew their request for

 4     itemized billing records, which is pending before the district court. See ECF No. 6160. Defendants

 5     again preserve “their objection to payment of this and future invoices pending resolution of

 6     Defendants’ pending motion requesting leave to deposit any remaining funds deemed payable” to

 7     the neutral expert and they request “that this Court defer ordering payment of the current invoice

 8     directly to Gibson Dunn until the Court resolves Defendants’ pending motion.” Attachment B at

 9     2. As the court noted in its prior order, ECF No. 6155, the latter request is controlled by the district

10     court’s order denying defendants’ request for stay pending ruling on their motion, ECF No. 6121,

11     and is denied.

12                      Accordingly, good cause appearing, IT IS HEREBY ORDERED that:

13                      1. The Clerk of the Court is directed to maintain Attachment A to this order under

14     seal until further order of court; and

15                      2. Within ten business days from the date of this order defendants shall pay to the

16     neutral expert the amount of $389,913.14 as reflected in the invoice for services rendered through

17     April 2019.

18                      IT IS SO ORDERED.
19     Dated: June 7, 2019
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